                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 DOLLIE SUGGARS, KENYA                            )
 MCGAUGHY, and SARAH DICKSON on                   )
 behalf of THEMSELVES and All Others              )
 Similarly Situated,                              )
                                                  )         COLLECTIVE ACTION
         Plaintiffs,                              )
                                                  )         CASE NO. 3:13-cv-906
 v.                                               )
                                                  )         JUDGE TRAUGER
 AMAZON.COM, INC., AMAZON.COM.                    )         MAGISTRATE JUDGE BRYANT
 DEDC, LLC, and SMX, LLC.                         )
                                                  )
        Defendants.                               )
                                                  )
                                                  )

                               [PROPOSED] AGREED ORDER

         WHEREAS, on October 9, 2013, Plaintiffs accepted Rule 68 Offers of Judgment that

were exclusive of Plaintiffs’ Counsel’s right to petition the Court for recoverable attorney’s fees

and expenses, see Docs. 68-69; and

         WHEREAS, on October 21, 2013, the Court entered judgment in Plaintiffs’ favor, see

Doc. 83; and

         WHEREAS, since entry of the judgment, Plaintiffs’ Counsel and Defendants’ Counsel

have worked cooperatively and successfully in an effort to amicably resolve the amount of

attorney’s fees and expenses owed to Plaintiffs’ Counsel;

         NOW, THEREFORE, IT IS HEREBY AGREED BY AND BETWEEN ALL PARTIES

that: (i) Plaintiffs’ Counsel are awarded attorney’s fees and expenses in the total combined

amount of $31,000.00 for all attorney work and expenses attributable to this action; (ii)

Plaintiffs’ Counsel will not petition the Court for any additional attorney’s fees or expenses




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associated with this action; and (iii) this action is now CLOSED, except that the Court shall

retain jurisdiction for the sole purpose of enforcing this Order as well as the October 21, 2013

Judgment.

                                                   _______________________________
                                                   ALETA A. TRAUGER
                                                   UNITED STATES DISTRICT JUDGE

Submitted for Entry: November 7, 2013

/s/ David W. Garrison
JERRY E. MARTIN (BPR # 20193)
DAVID W. GARRISON (BPR # 24968)
SCOTT P. TIFT (BPR # 27592)
SETH M. HYATT (BPR # 31171)
BARRETT JOHNSTON, LLC
217 Second Avenue North
Nashville, TN 37201
jmartin@barrettjohnston.com
dgarrison@barrettjohnston.com
stift@barrettjohnston.com
shyatt@barrettjohnston.com
Telephone: (615) 244-2202
Facsimile: (615) 252-3798

PETER WINEBRAKE*
R. ANDREW SANTILLO*
MARK J. GOTTESFELD*
WINEBRAKE & SANTILLO, LLC
715 Twining Road, Suite 211
Dresher, PA 19025
Phone: (215) 884-2491
Facsimile: (215) 884-2492
pwinebrake@winebrakelaw.com
asantillo@winebrakelaw.com
mgottesfeld@winebrakelaw.com
* Admitted Pro Hac Vice

J. CHRIS SANDERS*
Attorney At Law
7982 New LaGrange Road, Suite 5
Louisville, KY 40220
(502) 558-6337
(502) 339-4474 (cell)



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jchrissanders@yahoo.com
* Admitted Pro Hac Vice

DAVID O’BRIEN SUETHOLZ*
KIRCHER, SUETHOLZ AND GRAYSON, PSC
515 Park Avenue
Louisville, KY 40208
Telephone: (502) 636-4333
Facsimile: (502) 636-4342
dave@unionsidelawyers.com
* Admitted Pro Hac Vice

Attorneys for Plaintiffs

/s/ Richard G. Rosenblatt (with permission)
RICHARD G. ROSENBLATT
JOSEPH A. NUCCIO
MORGAN, LEWIS & BOCKIUS, LLP
502 Carnegie Center
Princeton, NJ 08540
Telephone: (609) 919-6600
Fax: (609) 919-6701
rrosenblatt@morganlewis.com
jnuccio@morganlewis.com

REBECCA EISEN
THERESA MAK
MORGAN, LEWIS & BOCKIUS, LLP
One Market, Spear Street Tower
San Francisco, CA 94105-1596
Telephone: (415) 442-1000
Fax: (415) 442-1001
reisen@morganlewis.com
tmak@morganlewis.com

MORRIS REID ESTES, JR.
DICKINSON WRIGHT PLLC
Fifth Third Center
424 Church Street
Suite 1401
Nashville, TN 37219-2392
Telephone: (615) 244-6538
restes@dickinsonwright.com

Attorneys for Defendants Amazon.com, Inc. and Amazon.com.DEDC, LLC




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/s/ Robert Earl Boston (with permission)
ROBERT EARL BOSTON
K. COE HEARD
WALLER, LANSDEN, DORTCH & DAVIS, LLP
Nashville City Center
511 Union Street
Suite 2700
Nashville, TN 37219
Telephone: (615) 244-6380
Fax: (615) 244-2804
bboston@wallerlaw.com
coe.heard@wallerlaw.com

Attorneys for Defendant SMX, LLC




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